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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 DCSTAR, INC.,

                  Plaintiff,                                 Case No. 1:24-cv-1066

            v.
                                                             JURY TRIAL DEMANDED
 THE INDIVIDUALS, CORPORATIONS,
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS, and
 UNINCORPORATED ASSOCIATES
 IDENTIFIED ON SCHEDULE “A,”

                  Defendants.


                                           COMPLAINT

       Plaintiff DCSTAR Inc. (“Plaintiff”) hereby brings the present action against all Individuals,

Corporations, Limited Liability Companies, Partnerships, and Unincorporated Associates

Identified on Schedule A (collectively, “Defendants”), attached hereto, as follows:

                                I.    JURISDICTION AND VENUE

       1.        This Court has original subject matter jurisdiction over Plaintiff’s claims pursuant

to the provisions of the Copyright Act 17 U.S.C. § 501, et seq., 28 U.S.C. § 1338(a) and 28 U.S.C.

§ 1331.

       2.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants because Defendants structure their

business activities so as to target consumers in the United States, including Illinois, through at least

the fully interactive e-commerce stores operating under the aliases identified on Schedule A

attached hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales to Illinois

residents by setting up and operating e-commerce stores that target United States consumers, offer
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shipping to the United States, including Illinois, accept payment in U.S. dollars and, on information

and belief, sell products using infringing versions of Plaintiff’s federally registered copyrighted

works (collectively, the “Unauthorized Products”) to residents of Illinois. Each of the Defendants

is committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully

caused Plaintiff substantial injury in the state of Illinois.

                                      II.     INTRODUCTION

        3.      Plaintiff filed this case to prevent e-commerce store operators who trade upon

Plaintiff’s reputation and goodwill from further selling and/or offering for sale Unauthorized

Products. Defendants create e-commerce stores under one or more Seller Aliases and then

advertise, offer for sale, and/or sell Unauthorized Products to unknowing consumers. E-commerce

stores operating under the Seller Aliases share identifiers, such as design elements and similarities

of the Unauthorized Products offered for sale, establishing that a logical relationship exists

between them, and that Defendants’ infringing operation arises out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants take advantage of a set of

circumstances, including the anonymity and mass reach afforded by the Internet and the cover

afforded by international borders, to violate Plaintiff’s intellectual property rights with impunity.

Defendants attempt to avoid liability by operating under one or more Seller Aliases to conceal their

identities, locations, and the full scope and interworking of their infringing operation. Plaintiff is

forced to file this action to combat Defendants’ infringement of its registered copyrighted works,

as well as to protect consumers from purchasing Unauthorized Products over the internet. Plaintiff

has been, and continues to be, irreparably damaged through infringement of its copyrighted works

and therefore seeks injunctive and monetary relief.




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                         Figure 1,




                      Figure 2,

       9.      Plaintiff’s Copyrighted Works are registered with the United States Copyright

Office. True and correct copies of the records from the U.S. Copyright Office website for Plaintiff’s

Copyrighted Works are attached here as Exhibit 1.




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          10.    Among the exclusive rights granted to Plaintiff under the U.S. Copyright Act are

the exclusive rights to reproduce, prepare derivative works of, distribute copies of, and display

Plaintiff’s Copyrighted Works to the public.

          11.    Since their first publication, the DCSTAR Copyrights have been used by DCSTAR,

and its licensees, in the marketing of the DCSTAR Products.

          12.    Within the                           industry, Plaintiff’s Products have become

enormously popular, driven by Plaintiff’s quality standards and commitment to a positive

consumer experience. Plaintiff’s Products are distributed and sold to consumers throughout the

United States.

          13.    Defendants are unknown individuals and business entities who own and/or operate

one or more of the e-commerce stores under the Seller Aliases identified on Schedule A and/or

other seller aliases not yet known to Plaintiff. On information and belief, Defendants reside and/or

operate in foreign jurisdictions or redistribute products from the same or similar sources in those

locations. Defendants have the capacity to be sued pursuant to Federal Rules of Civil Procedure

17(b).

          14.    On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operation make it virtually

impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their

infringement network. If Defendants provide additional credible information regarding their

identities, Plaintiff will take appropriate steps to amend the Complaint.




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                      IV.     DEFENDANTS’ UNLAWFUL CONDUCT

       15.     The success of the Plaintiff has resulted in significant copying of Plaintiff’s

Copyrighted Works. Because of this, Plaintiff has implemented an anti-infringement program that

involves investigating suspicious websites and online marketplace listings identified in proactive

Internet sweeps. Recently, Plaintiff has identified many fully interactive e-commerce stores

offering Unauthorized Products on online marketplace platforms like Amazon.com, Inc.

(“Amazon”), including the e-commerce stores operating under the Seller Aliases. True and correct

copies of screenshot printouts showing the active e-commerce stores operating under the Seller

Aliases reviewed are attached as Exhibit 2.

       16.     The Seller Aliases target consumers in this Judicial District and throughout the

United States. According to a report prepared for The Buy Safe America Coalition, most infringing

products now come through international mail and express courier services (as opposed to

containers) due to increased sales from offshore online infringers. The Counterfeit Silk Road:

Impact of Counterfeit Consumer Products Smuggled Into the United States, prepared by John

Dunham & Associates (Exhibit 3).

       17.     Because infringing products sold by offshore online infringers do not enter normal

retail distribution channels, the U.S. economy lost an estimated 300,000 or more full-time jobs in

the wholesale and retail sectors alone in 2020. Id. When accounting for lost jobs from suppliers

that would serve these retail and wholesale establishments, and the lost jobs that would have been

induced by employees re-spending their wages in the economy, the total economic impact resulting

from the sale of infringing products was estimated to cost the United States economy over 650,000

full-time jobs that would have paid over $33.6 billion in wages and benefits. Id. Additionally, it is




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estimated that the importation of infringing goods costs the United States government nearly $7.2

billion in personal and business tax revenues in the same period. Id.

       18.     Online marketplace platforms like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing infringers to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit 4, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the

Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also report on “Combating Trafficking

in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland Security’s Office

of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit 5, and finding that on “at least

some e-commerce platforms, little identifying information is necessary for a counterfeiter to begin

selling” and that “[t]he ability to rapidly proliferate third-party online marketplaces greatly

complicates enforcement efforts, especially for intellectual property rights holders.” Infringers

hedge against the risk of being caught and having their websites taken down from an e-commerce

platform by establishing multiple virtual storefronts. Exhibit 5 at p. 22. Since platforms generally

do not require a seller on a third-party marketplace to identify the underlying business entity,

infringers can have many different profiles that can appear unrelated even though they are

commonly owned and operated. Exhibit 5 at p. 39. Further, “[e]-commerce platforms create

bureaucratic or technical hurdles in helping brand owners to locate or identify sources of

counterfeits and counterfeiters.” Exhibit 4 at 186-187. Specifically, brand owners are forced to

“suffer through a long and convoluted notice and takedown procedure only [for the infringing

seller] to reappear under a new false name and address in short order.” Id. at p. 161.

       19.     Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer




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shipping to the United States, including Illinois, accept payment in U.S. dollars and, on information

and belief, sell and/or offer for sale Unauthorized Products to residents of Illinois.

       20.     Defendants concurrently employ and benefit from similar advertising and

marketing strategies. For example, Defendants facilitate sales by designing the e-commerce stores

operating under the Seller Aliases so that they appear to unknowing consumers to be authorized

online retailers, outlet stores, or wholesalers. E-commerce stores operating under the Seller Aliases

appear sophisticated and accept payment in U.S. dollars in multiple ways, including via credit

cards, Alipay, Amazon Pay, and/or PayPal. E-commerce stores operating under the Seller Aliases

often include content and images that make it very difficult for consumers to distinguish their

stores from an authorized retailer. Plaintiff has not licensed or authorized Defendants to copy or

distribute Plaintiff’s Copyrighted Works, and none of the Defendants are authorized retailers of

Plaintiff’s Products.

       21.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

information to e-commerce platforms to prevent discovery of their true identities and the scope of

their e-commerce operation.

       22.     E- commerce store operators like Defendants regularly register or acquire new

seller aliases for the purpose of offering for sale and selling Unauthorized Products. Such seller

alias registration patterns are one of many common tactics used by e-commerce store operators

like Defendants to conceal their identities and the full scope and interworking of their operation,

and to avoid being shut down.

       23.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with




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common design elements that intentionally omit contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other common features, such as registration patterns, accepted

payment methods, check-out methods, keywords, advertising tactics, similarities in price and

quantities, the same incorrect grammar and misspellings, and/or the use of the same text and

images. Additionally, Unauthorized Products for sale by the Seller Aliases bear similar

irregularities and indicia of being infringing to one another, suggesting that the Unauthorized

Products were manufactured by and come from a common source and that Defendants are

interrelated.

        24.     E- commerce store operators like Defendants communicate with each other through

QQ.com chat rooms and utilize websites, like sellerdefense.cn, that provide tactics for operating

multiple online marketplace accounts and evading detection by brand owners. Websites like

sellerdefense.cn also tip off e-commerce store operators like Defendants of new intellectual

property infringement lawsuits filed by brand owners, such as Plaintiff, and recommend that e-

commerce operators cease their infringing activity, liquidate their associated financial accounts,

and change the payment processors that they currently use to accept payments in their online stores.

        25.     Infringers, such as Defendants, typically operate under multiple seller aliases and

payment accounts so that they can continue operation despite Plaintiff’s enforcement. E-

commerce store operators, like Defendants, maintain offshore bank accounts and regularly move

funds from their financial accounts to offshore accounts outside the jurisdiction of this Court to

avoid payment of any monetary judgment awarded to plaintiffs.

        26.     Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Unauthorized Products in the same transaction,




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occurrence, or series of transactions or occurrences. Defendants, without any authorization or

license from Plaintiff have, jointly and severally, knowingly and willfully used and continue to use

unauthorized copies of Plaintiff’s Copyrighted Works in connection with the advertisement,

distribution, offering for sale, and sale of Unauthorized Products into the United States and Illinois

over the Internet.

        27.    Defendants’ unauthorized copying of Plaintiff’s Copyrighted Works in connection

with the advertising, distribution, offering for sale, and sale of Unauthorized Products, including

the sale of Unauthorized Products into the United States, including Illinois, is likely to cause, and

has caused, confusion, mistake, and deception by and among consumers and is irreparably harming

Plaintiff.

                            COUNT I
COPYRIGHT INFRINGEMENT OF UNITED STATES COPYRIGHT REGISTRATION
                           (17 U.S.C. §§ 106 and 501)

        28.    Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

        29.    Plaintiff’s Copyrighted Works constitute original works and copyrightable subject

matter pursuant to the Copyright Act, 17 U.S.C. § 101, et seq.

        30.    Plaintiff is the owner of Plaintiff’s Copyrighted Works. Plaintiff has complied with

the registration requirements of 17 U.S.C. § 411(a) for Plaintiff’s Copyrighted Works. Plaintiff’s

Copyrighted Works are protected by copyright registration numbers which were duly issued by the

United States Copyright Office. At all relevant times, Plaintiff has been, and still is, the owner of

all rights, title, and interest in Plaintiff’s Copyrighted Works, which have never been assigned,

licensed, or otherwise transferred to Defendants.




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         31.   Plaintiff’s Copyrighted Works are published on the internet and available to

Defendants online. As such, Defendants had access to Plaintiff’s Copyrighted Works via the

internet.

         32.   Without authorization from Plaintiff, or any right under the law, Defendants have

deliberately copied, displayed, distributed, reproduced, and/or made derivative works

incorporating Plaintiff’s                  copyrighted work on e-commerce stores operating under

the Seller Aliases and the corresponding Unauthorized Products. Defendants’ derivative works are

virtually identical to and/or are substantially similar to the look and feel of Plaintiff’s

                 copyrighted work. Such conduct infringes and continues to infringe Plaintiff’s

                 copyrighted work in violation of 17 U.S.C. § 501(a) and 17 U.S.C. §§ 106(1)–(3),

(5).

         33.   Defendants reap the benefits of the unauthorized copying and distribution of

Plaintiff’s                  copyrighted work in the form of revenue and other profits that are

driven by the sale of Unauthorized Products.

         34.   Defendants have unlawfully appropriated Plaintiff’s protectable expression by

taking material of substance and value and creating Unauthorized Products that capture the total

concept and feel of Plaintiff’s                  copyrighted work.

         35.   On information and belief, the Defendants’ infringement has been willful,

intentional, purposeful, and in disregard of and with indifference to Plaintiff’s rights.

         36.   The Defendants, by their actions, have damaged Plaintiff in an amount to be

determined at trial.

         37.   Defendants’ conduct is causing and, unless enjoined and restrained by this Court,

will continue to cause Plaintiff great and irreparable injury that cannot fully be compensated or




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measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff

is entitled to a preliminary and permanent injunction prohibiting further infringement of Plaintiff’s

                 copyrighted works.

                           COUNT II
COPYRIGHT INFRINGEMENT OF UNITED STATES COPYRIGHT REGISTRATION
                           (17 U.S.C. §§ 106 and 501)

        38.    Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

        39.    Plaintiff’s Copyrighted Works constitute original works and copyrightable subject

matter pursuant to the Copyright Act, 17 U.S.C. § 101, et seq.

        40.    Plaintiff is the owner of Plaintiff’s Copyrighted Works. Plaintiff has complied with

the registration requirements of 17 U.S.C. § 411(a) for Plaintiff’s Copyrighted Works. Plaintiff’s

Copyrighted Works are protected by copyright registration numbers which were duly issued by the

United States Copyright Office. At all relevant times, Plaintiff has been, and still is, the owner of

all rights, title, and interest in Plaintiff’s Copyrighted Works, which have never been assigned,

licensed, or otherwise transferred to Defendants.

        41.    Plaintiff’s Copyrighted Works are published on the internet and available to

Defendants online. As such, Defendants had access to Plaintiff’s Copyrighted Works via the

internet.

        42.    Without authorization from Plaintiff, or any right under the law, Defendants have

deliberately copied, displayed, distributed, reproduced, and/or made derivative works

incorporating Plaintiff’s                 copyrighted work on e-commerce stores operating under

the Seller Aliases and the corresponding Unauthorized Products. Defendants’ derivative works are

virtually identical to and/or are substantially similar to the look and feel of Plaintiff’s




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                 copyrighted work. Such conduct infringes and continues to infringe Plaintiff’s

                 copyrighted work in violation of 17 U.S.C. § 501(a) and 17 U.S.C. §§ 106(1)–(3),

(5).

         43.    Defendants reap the benefits of the unauthorized copying and distribution of

Plaintiff’s                  copyrighted work in the form of revenue and other profits that are

driven by the sale of Unauthorized Products.

         44.    Defendants have unlawfully appropriated Plaintiff’s protectable expression by

taking material of substance and value and creating Unauthorized Products that capture the total

concept and feel of Plaintiff’s                  copyrighted work.

         45.    On information and belief, the Defendants’ infringement has been willful,

intentional, purposeful, and in disregard of and with indifference to Plaintiff’s rights.

         46.    The Defendants, by their actions, have damaged Plaintiff in an amount to be

determined at trial.

         47.    Defendants’ conduct is causing and, unless enjoined and restrained by this Court,

will continue to cause Plaintiff great and irreparable injury that cannot fully be compensated or

measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff

is entitled to a preliminary and permanent injunction prohibiting further infringement of Plaintiff’s

                 copyrighted works.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

1)       That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them be

temporarily, preliminarily, and permanently enjoined and restrained from:




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       a. reproducing, distributing copies of, making derivative works of, or publicly displaying

           Plaintiff’s Copyrighted Works in any manner without the express authorization of

           Plaintiff;

       b. passing off, inducing, or enabling others to sell or pass off products as Plaintiff’s

           Products or any other product produced by Plaintiff, that is not Plaintiff’s or not

           produced under the authorization, control, or supervision of Plaintiff and approved by

           Plaintiff for sale bearing Plaintiff’s Copyrighted Works;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           Unauthorized Products are those sold under the authorization, control, or supervision

           of Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

       d. further infringing Plaintiff’s Copyrighted Works and damaging Plaintiff’s goodwill;

           and

       e. manufacturing, shipping, delivering, holding for sale, transferring, or otherwise

           moving, storing, distributing, returning, or otherwise disposing of, in any manner,

           products or inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff

           to be sold or offered for sale, and which bear any of Plaintiff’s Copyrighted Works;

2)     Entry of an Order that, upon Plaintiff’s request, those with notice of the injunction,

including without limitation, any websites and/or online marketplace platforms such as Amazon

shall disable and cease displaying any advertisements used by or associated with Defendants in

connection with the sale of infringing goods which bear Plaintiff’s Copyrighted Works;

3)     That Judgment be entered against Defendants finding that they have infringed upon

Plaintiff’s Copyrighted Works in violation of 17 U.S.C. § 501(a) and 17 U.S.C. §§ 106(1)–(3), (5);




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4)        As a direct and proximate result of Defendants’ infringement of Plaintiff’s Copyrighted

Works, Plaintiff is entitled to damages as well as Defendants’ profits, pursuant to 17 U.S.C. §

504(b);

5)        Alternatively, and at Plaintiff’s election prior to any final judgment being entered, Plaintiff

is entitled to the maximum amount of statutory damages provided by law, $150,000 per work

infringed pursuant to 17 U.S.C. § 504(c), or for any other such amount as may be proper pursuant

to 17 U.S.C. § 504(c);

6)        That Plaintiff be awarded its reasonable attorneys’ fees and costs or bringing this action

pursuant to 17 U.S.C. § 505 and 17 U.S.C. § 1117(a); and

7)        Award any and all other relief that this Court deems just and proper.

                                            JURY DEMAND

          Plaintiff demands a trial by jury on all issues so triable.




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Dated: February 6, 2024                      Respectfully submitted,

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